         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 1 of 11




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        :
                                                 :
        v.                                       : MAGISTRATE NO. 21-MJ-75 (RMM)
                                                 :
 TIMOTHY LOUIS HALE-CUSANELLI,                   :
     Defendant.                                  :

                         MOTION FOR EMERGENCY STAY AND
                          FOR REVIEW OF RELEASE ORDER

        The United States of America, by and through its attorney, the United States Attorney

 for the District of Columbia, respectfully moves this Court to, first, stay Defendant’s release

 pending trial, and second, review the decision by the Magistrate Judge from the District of New

 Jersey to deny the government’s motion for pre-trial detention. In support thereof, the

 government states the following:

 I.     BACKGROUND

        A.      Procedural Posture

       On January 15, 2021, Defendant was arrested in his home state of New Jersey on an arrest

warrant issued from the United States District Court for the District of Columbia by Magistrate

Judge Robin M. Meriweather in connection with a Criminal Complaint charging the defendant

with Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority, in violation of 18 U.S.C. §§ 1752(a)(1), (a)(2), Violent Entry and Disorderly Conduct

on Capitol Grounds, in violation of 18 U.S.C. §§ 5104(e)(2)(D), and (e)(2)(G), and Obstructing

a Law Enforcement Officer During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3).

       At his initial appearance in the District of New Jersey, the United States made a motion

to detain the defendant without bond pending trial. The defendant is subject to detention pursuant

                                                1
         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 2 of 11




to 18 U.S.C. § 3142(f)(2)(B), which provides for detention where there is a serious risk that, if

released, the defendant will obstruct or attempt to obstruct justice, or threaten, injure, or

intimidate, or attempt to threaten, injure, or intimidate, a prospective witness. The presiding

magistrate judge denied the government’s detention motion and issued an order releasing the

defendant with certain conditions. Following this, the government orally moved to stay the

defendant’s release pending an appeal by the government. The magistrate judge granted this

motion and ordered that Defendant’s release will be stayed until January 22, 2021.

         B.     Statement of Facts

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. The U.S. Capitol is secured

24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and

temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with

appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the

exterior plaza of the U.S. Capitol was also closed to members of the public. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.


                                                 2
         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 3 of 11




As noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there. Among those persons was Defendant Timothy Louis Hale-Cusanelli,

who traveled from his home in Colts Neck, New Jersey, to participate. Defendant is enlisted in the

United States Army Reserves, and also works as a contractor at Naval Weapons Station Earle

where he maintains a “Secret” security clearance and has access to a variety of munitions.




                                                 3
         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 4 of 11




       Defendant’s participation in the insurrection was reported to the Naval Criminal

Investigation Service (“NCIS”) by a Confidential Human Source (“CHS”). Defendant spoke

directly to the CHS about his participation in the events at the United States Capitol, and showed

CHS photographs and video of his actions. (Docket Entry 1, Attachment 1). CHS later recorded

a conversation with Defendant, on NCIS-approved recording equipment, wherein Defendant

admitted to entering the Capitol and encouraging other members of the mob to “advance” – giving

directions via both voice and hand signals. Id. Defendant told CHS that if there had been more

rioters they could have taken over the entire building. Defendant also told CHS that Defendant

had taken a flag and flagpole that he observed another rioter throw “like a javelin” at a Capitol

Police officer, which Defendant described as a “murder weapon.” Defendant stated his intent to

destroy or dispose of the flag and flagpole as soon as he could. Id.

       Immediately after his arrest on January 15, 2021, Defendant waived his Miranda rights and

participated in an interview with myself and other special agents from NCIS and the Federal

Bureau of Investigation (“FBI”). This interview was both audio and video recorded. Defendant

stated that he marched to the Capitol as part of a large crowd of people after attending President

Trump’s January 6, 2021, rally. Defendant stated he believed there was a strong chance, President

Trump would be with them. Defendant stated that when he got to the Capitol grounds, he saw law

enforcement — which he described as wearing bright yellow reflective vests — using pepper spray

and rubber bullets in an attempt to keep the mob from entering the Capitol building.

       Defendant admitted that law enforcement’s efforts to keep the mob out of the building

“encouraged” him and others to move forward in an attempt to breach the building and interrupt

the certification of the Electoral College results. Defendant described that he had been exposed to

various chemical irritants as part of his military training, and that he had been trained in methods


                                                 4
         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 5 of 11




to overcome such exposure. Defendant stated that, because of that training, as well as the cloth

mask he was wearing, he was able to continue moving forward even after having been exposed to

pepper spray. Defendant admitted to encouraging others to “advance” past law enforcement

officers into the Capitol building, and further admitted using hand and voice signals to direct their

movements.

       Defendant stated that he never put his hands on anyone, but admitted that he did call a

female law enforcement officer a “cunt” when she and other officers administered pepper spray.

Defendant acknowledged that some individuals in the mob fought with law enforcement officers,

and stated that he observed an officer being pulled into the crowd and assaulted. Defendant

admitted that he did nothing to assist the officer.

       During the interview, Defendant provided agents with the passcode to his cell phone and

agents subsequently reviewed the photos and videos that he took at the Capitol on January 6, 2021.

One of those videos showed law enforcement officers in bright yellow vests on what appears to be

the West Side of the United States Capitol building, while Defendant stated “. . . the revolution

will be livestreamed.” Another video taken inside the Capitol building shows rioters chanting “stop

the steal, stop the steal.” When asked by agents whether he understood that his actions had, in fact,

obstructed and interfered with Congress’ certification of the Electoral College results, Defendant

conceded that they had.

         C.      Order for Release

         After an initial appearance and hearing in the District of New Jersey on January 15,

 2021, the presiding magistrate judge issued an Order of Release for the defendant with certain

 conditions. On that same day, the United States orally sought a stay of the Order pending this




                                                  5
            Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 6 of 11




    Motion for Review. The magistrate judge granted that request and delayed Defendant’s release

    until January 22, 2021.

    III.    ARGUMENT

            A. This Court Has the Authority to Stay and Review the Release Order

           Title 18, U.S.C. § 3145(a) states:

            (a) Review of a release order – If a person is ordered released by a magistrate, …

                  (1) the attorney for the Government may file, with the court
                  having original jurisdiction over the offense, a motion for
                  revocation of the order or amendment of the conditions of release
                  ...
            The motion shall be determined promptly.

            On the government’s motion to review a release order, this Court considers de novo the

    Magistrate Judge’s denial of pre-trial detention. In its discretion, the Court may proceed to

    rehear the evidence by recalling the witnesses, reviewing transcripts, or by proceeding through

    proffer and argument. It may take additional evidence from new witnesses or consider

    arguments not previously raised. In short, the Court may proceed as best enables it to resolve

    the question posed: whether any condition or combination of conditions will reasonably assure

    the appearance of the person as required and the safety of any other person and the community.

    As the legislative history of the 1984 Bail Reform Act amendments shows:

                    [T]he language referring to the safety of the community refers
                    to the danger that the defendant might engage in criminal
                    activity to the detriment of the community. The committee
                    intends that the concern about safety be given a broader
                    construction than merely danger of harm involving violence. . .

    See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad.

    News 3182, 3195-3196. 1



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    To that end, it is worthwhile recalling Congress’ intent in 1984 when it enacted the current
                                                   6
         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 7 of 11




         B. The Bail Reform Act Factors All Weigh in Favor of Detention

         The United States is seeking detention pending trial pursuant to 18 U.S.C. § 3142(f)(2)(B)

 because there is a serious risk that, if released, Defendant will obstruct or attempt to obstruct

 justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective

 witness. Consequently, the government requests review of the magistrate judge’s decision to

 release the defendant and seeks a further stay of the order from this Court.

       As the Court is aware, there are four factors under Section 3142(g) that the Court should

analyze in determining whether to detain the defendant pending trial: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence against the defendant; (3) his

history and characteristics; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by his release. Each of these factors weighs in favor of pretrial

detention in this case.




version of the Bail Reform Act:

                 Many of the changes in the Bail Reform Act reflect the . . .
                 determination that Federal bail laws must . . . give the courts
                 adequate authority to make release decisions that give appropriate
                 recognition to the danger a person may pose to others if released.
                 . . . The constraints of the Bail Reform Act fail to grant the Courts
                 the authority to impose conditions of release geared toward
                 assuring community safety, or the authority to deny release to
                 those defendants who pose an especially grave risk to the safety
                 of the community. . . . This broad base of support for giving
                 judges the authority to weigh risks to community safety in pretrial
                 release decisions is a reflection of the deep public concern, which
                 the Committee shares, about the growing problem of crimes
                 committed by persons on release.
 See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad. News
 3182, 3486-3487. (Emphasis added.)

                                                    7
           Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 8 of 11




      A.       The Nature and Circumstances of the Offenses Weigh in Favor of Detention

       The nature and circumstances of the charged offenses weigh heavily in favor of detention.

Defendant, a member of the United States Army Reserve and security contractor at Naval Weapons

Station Earle, knowingly and willfully participated in an insurrection that was designed to prevent

the United States Congress from certifying the results of the 2020 Presidential election. As part of

that insurrection, Defendant not only stormed the Capitol and threatened Capitol Police officers,

he utilized his military training to assist other insurrectionists – giving instructions to “advance”

and using both hand and voice signals.

          C. The Weight of the Evidence Weighs in Favor of Detention

       The weight of the evidence against Defendant also weighs strongly in favor of detention.

In addition to his confession to federal agents, Defendant admitted his involvement to at least one

other person and memorialized his crime via photograph and digital video. Moreover, given the

sheer number of photographs and videos taken at the Capitol on January 6, 2021 – as well as

surveillance footage from inside the Capitol building – the United States anticipates that its

evidence against Defendant will increase now that federal agents have confirmed (by watching

Defendant’s videos) that he entered through the West Side of the Capitol building.

     C.        The Defendant’s History and Characteristics Weigh in Favor of Detention

       Defendant’s history and characteristics also weigh in favor of detention, notwithstanding

his military service and lack of felony convictions. Defendant is an avowed white supremacist and

Nazi sympathizer who posts video opinion statements on YouTube proffering extreme political

opinions and viewpoints under the title the “Based Hermes Show.” Defendant also posts similar

content in other forums.




                                                 8
          Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 9 of 11




         During the execution of a search warrant at Defendant’s residence, federal agents recovered

a copy of Mein Kampf by Adolf Hitler, which describes Hitler’s anti-Semitic ideology and outlined

his plans for what became Nazi Germany. Federal agents also recovered a copy of The Turner

Diaries by William Luther Pierce, published under the pseudonym Andrew Macdonald, a novel

which depicts a violent revolution in the United States which leads to the overthrow of the federal

government, a nuclear war, and, ultimately, a race war which leads to the systematic extermination

of non-whites. Mein Kampf and The Turner Diaries are considered “required reading” by those

who are enmeshed in the White Supremacy movement. See Alexandra Alter, How “The Turner

Diaries’ Incites White Supremacists, New York Times Online (Jan. 12, 2021, updated Jan. 15,

2021),      available     at     https://www.nytimes.com/2021/01/12/books/turner-diaries-white-

supremacists.html (last visited January 18, 2021).

         Although it might otherwise be possible to attribute the “Based Hermes Show” and an

interest in Mein Kampf and The Turner Diaries to morbid curiosity or First Amendment

expression, Defendant’s actions and statements make plain his beliefs in White Supremacy, and

his interest in participating in a civil war to preserve what he believes to be the proper order of

American society. After returning home from storming the capitol, Defendant told a friend that he

“couldn’t describe how exhilarating it was” to participate in the protest. When asked how he would

“recreate” that sensation, Defendant replied: “War. Civil war.”

         Defendant also expressed that the “system” is “getting more illegitimate every day” and

“it’s only a matter of time,” before a civil war breaks out. Defendant further expressed that, in the

event of a civil war, “it’s going to be the fucking good old boys in the Midwest, Texas, and

Arkansas,” who prevail. When asked whether he really wanted there to be a civil war, Defendant

said “yes,” and quoted Thomas Jefferson, stating that “the tree of liberty must be refreshed with


                                                  9
        Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 10 of 11




the blood of patriots and tyrants.” Defendant also stated that a civil war was the “best shot” for

American society to get a “clear bill of health.”

       D.      The Danger to the Community Created by Defendant’s Release Weighs in
               Favor of Detention

       Defendant poses a substantial risk of danger to the community if he is released. Having

sworn a duty to uphold and protect the Constitution against all enemies, foreign or domestic,

Defendant literally abandoned his post to participate in an insurrection with the stated intent of

obstructing the certification of the Electoral College vote. Defendant has not only embraced a

dangerous, White Supremacist ideology, he preaches it on YouTube in hopes of luring more

“patriots” to his cause. It is unclear how long Defendant has harbored a fantasy of participating in

a second American civil war—a war in which “the fucking good old boys in the Midwest, Texas,

and Arkansas” will provide American society with a “clear bill of health.” It is clear, however, that

he is no longer fantasizing – he now sees himself ready to refresh the tree of liberty with “the blood

of patriots and tyrants.”

       Releasing Defendant from custody will only reinforce his belief that his cause is just. Given

his impending debarment from Naval Weapons Station Earle, and his potential Administrative

Separation from the U.S. Army Reserve, Defendant’s release will likely leave him with nowhere

to go and nothing to do except pursue his fantasy of participating in a civil war. If nothing else,

the events of January 6, 2021, have exposed the size and determination of right-wing fringe groups

in the United States, and their willingness to place themselves and others in danger to further their

political ideology. Releasing Defendant to rejoin their fold and plan their next attack poses a

potentially catastrophic risk of danger to the community.




                                                    10
         Case 1:21-mj-00075-RMM Document 3 Filed 01/19/21 Page 11 of 11




                                         CONCLUSION

        This Court has the authority to stay the Magistrate Judge from the District of New Jersey’s

Order to release Defendant pending trial in this case. Moreover, this Court has the authority to

overrule that decision and order that Defendant be detained and transferred to the District of

Columbia pending trial. This case warrants such an exercise of the Court’s authority. All four of

the Bail Reform Act factors weigh heavily in favor of detention in this case, and there is no

condition, or combination of conditions, that will ensure the safety of the community if Defendant

is released.

                                                 Respectfully submitted,
                                                 MICHAEL R. SHERWIN
                                                 Acting United States Attorney
                                                 New York Bar No. 4444188


                                        By:       /s/ James B. Nelson
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                                                11
       Case 1:21-mj-00075-RMM Document 3-1 Filed 01/19/21 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :
       v.                                         : MAGISTRATE NO. 21-MJ-75 (RMM)
                                                  :
TIMOTHY LOUIS HALE CUSANELLI,                     :
    Defendant.                                    :


                                          ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Timothy Louis Hale-Cusanelli

       It is this _________ day of January, 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the District of New Jersey Magistrate Judge on January 19, 2021 as to

defendant Timothy Louis Hale-Cusanelli is STAYED pending review of the detention decision

by this Court.




                                                           ______________
                                           BERYL A. HOWELL, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA




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